      Case 19-20350                 Doc 15         Filed 10/18/19 Entered 10/18/19 23:36:50                  Desc Imaged
                                                  Certificate of Notice Page 1 of 3
Information to identify the case:
Debtor 1              Chanler S. Johnson                                          Social Security number or ITIN   xxx−xx−1064
                      First Name   Middle Name   Last Name                        EIN    _ _−_ _ _ _ _ _ _
Debtor 2                                                                          Social Security number or ITIN _ _ _ _
                      First Name   Middle Name   Last Name
(Spouse, if filing)
                                                                                  EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court Northern District of Illinois

Case number: 19−20350



Order of Discharge                                                                                                         12/15


IT IS ORDERED: A discharge under 11 U.S.C. § 727 is granted to:

           Chanler S. Johnson

                                                                          For the court: Jeffrey P. Allsteadt, Clerk
           October 16, 2019                                                              United States Bankruptcy Court


Explanation of Bankruptcy Discharge in a Chapter 7 Case

This order does not close or dismiss the case,                           This order does not prevent debtors from paying
and it does not determine how much money, if                             any debt voluntarily or from paying reaffirmed
any, the trustee will pay creditors.                                     debts according to the reaffirmation agreement.
                                                                         11 U.S.C. § 524(c), (f).
Creditors cannot collect discharged debts
This order means that no one may make any                                Most debts are discharged
attempt to collect a discharged debt from the                            Most debts are covered by the discharge, but not
debtors personally. For example, creditors                               all. Generally, a discharge removes the debtors'
cannot sue, garnish wages, assert a deficiency,                          personal liability for debts owed before the
or otherwise try to collect from the debtors                             debtors' bankruptcy case was filed.
personally on discharged debts. Creditors cannot
contact the debtors by mail, phone, or otherwise                         Also, if this case began under a different chapter
in any attempt to collect the debt personally.                           of the Bankruptcy Code and was later converted
Creditors who violate this order can be required                         to chapter 7, debts owed before the conversion
to pay debtors damages and attorney's fees.                              are discharged.

However, a creditor with a lien may enforce a                            In a case involving community property: Special
claim against the debtors' property subject to that                      rules protect certain community property owned
lien unless the lien was avoided or eliminated.                          by the debtor's spouse, even if that spouse did
For example, a creditor may have the right to                            not file a bankruptcy case.
foreclose a home mortgage or repossess an
automobile.

                                                                                        For more information, see page 2 >




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Some debts are not discharged                             Also, debts covered by a valid reaffirmation
Examples of debts that are not discharged are:            agreement are not discharged.

     ♦ debts that are domestic support                    In addition, this discharge does not stop
       obligations;                                       creditors from collecting from anyone else who is
                                                          also liable on the debt, such as an insurance
                                                          company or a person who cosigned or
     ♦ debts for most student loans;                      guaranteed a loan.


     ♦ debts for most taxes;
                                                           This information is only a general summary
     ♦ debts that the bankruptcy court has                 of the bankruptcy discharge; some
       decided or will decide are not discharged           exceptions exist. Because the law is
       in this bankruptcy case;                            complicated, you should consult an
                                                           attorney to determine the exact effect of the
                                                           discharge in this case.
     ♦ debts for most fines, penalties,
       forfeitures, or criminal restitution
       obligations;

     ♦ some debts which the debtors did not
       properly list;


     ♦ debts for certain types of loans owed to
       pension, profit sharing, stock bonus, or
       retirement plans; and


     ♦ debts for death or personal injury caused
       by operating a vehicle while intoxicated.




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                                               United States Bankruptcy Court
                                               Northern District of Illinois
In re:                                                                                                     Case No. 19-20350-ABG
Chanler S. Johnson                                                                                         Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0752-1                  User: admin                        Page 1 of 1                          Date Rcvd: Oct 16, 2019
                                      Form ID: 318                       Total Noticed: 23


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Oct 18, 2019.
db             +Chanler S. Johnson,    1950 Beechwood Ave,    Gurnee, IL 60031-1788
28030458       +City of Chicago,    205 W Randolph # 1100,    c/o Goldman and Grant,    Chicago, IL 60606-1813
28030457       +City of Waukegan,    Po Box 457,    Wheeling, IL 60090-0457
28030451       +Credit Acceptance Corp,    PO BOX 513,    SOUTHFIELD, MI 48037-0513
28030456       +Gurnee - Parking Tickets,    325 N. O’Plaine,    Gurnee, IL 60031-2636
28030455       +Illinois Tollway,    2700 Ogden Ave,    Legal Dept,   Downers Grove, IL 60515-1703
28030449       +MIDWEST RECEIVABLE SOL,    2323 GULL RD STE E,    KALAMAZOO, MI 49048-1400
28030454       +North Shore Gas,    200 E Randolph St,    Chicago, IL 60601-6433
28030462       +Speedy Loan - Waukegan,    2850 Belvidere Rd,    Waukegan, IL 60085-6040
28030443       +US DEPT OF ED/GLELSI,    2401 Internal Lane,    Attn: Chhengre Lim,    Madison, WI 53704-3121
28030459       +Village of Round Lake Beach,     1937 N. Municipal Way,   Round Lake, IL 60073-4915
28030452       +Vista Medical Center East,    Po Box 504316,    Saint Louis, MO 63150-4316

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
28033479       +EDI: AAEO.COM Oct 17 2019 06:28:00      Aarons,   7311 S. Ashland,    Chicago Illinois 60636-4052
28030453       +E-mail/Text: comedbankruptcygroup@exeloncorp.com Oct 17 2019 03:14:57        Commonwealth Edison,
                 3 Lincoln Ctr Fl 4,    Oakbrook Ter, IL 60181-4204
28030445       +EDI: DCI.COM Oct 17 2019 06:28:00      DIVERSIFIED CONSULTANT,    10550 DEERWOOD PARK BLVD,
                 JACKSONVILLE, FL 32256-0596
28030447        E-mail/Text: operationsclerk@easypayfinance.com Oct 17 2019 03:10:35        EASYPAY/DVRA,
                 2701 LOKER AV WEST,    CARLSBAD, CA 92008
28030461        E-mail/Text: operationsclerk@easypayfinance.com Oct 17 2019 03:10:35        Easypay Finance,
                 Po Box 2549,   Carlsbad, CA 92018
28030444       +E-mail/Text: HWIBankruptcy@hunterwarfield.com Oct 17 2019 03:13:34       HWARFIELD,
                 4620 WOODLAND CORPORATE BLVD,    TAMPA, FL 33614-2415
28030450       +EDI: IIC9.COM Oct 17 2019 06:28:00      I.C. SYSTEM, INC,    PO BOX 64378,
                 SAINT PAUL, MN 55164-0378
28030446       +EDI: CHASE.COM Oct 17 2019 06:28:00      JPMCB CARD,   P.O. BOX 15298,
                 WILMINGTON, DE 19850-5298
28030463       +EDI: CBSPLS.COM Oct 17 2019 06:28:00       PLS,  2510 Grand Ave,    Waukegan, IL 60085-3317
28030448       +EDI: PRA.COM Oct 17 2019 06:28:00      PORTFOLIO RECOV ASSOC,    POB 41067,
                 Norfolk, VA 23541-1067
28030460        E-mail/Text: ecfbankruptcy@progleasing.com Oct 17 2019 03:13:52       Progressive Leasing,
                 10619 South Jordan Gateway # 100,    South Jordan, UT 84095
                                                                                               TOTAL: 11

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Oct 18, 2019                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on October 16, 2019 at the address(es) listed below:
              Christopher H Purcell   on behalf of Creditor   Credit Acceptance Corporation shermlaw13@aol.com
              Ilene F Goldstein, ESQ   ifgcourt@aol.com, IL35@ecfcbis.com
              Patrick S Layng   USTPRegion11.ES.ECF@usdoj.gov
              Sarah A Lentes   on behalf of Debtor 1 Chanler S. Johnson slentes@semradlaw.com,
               ilnb.courtview@SLFCourtview.com
                                                                                            TOTAL: 4
